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Fll.ED BY h o v
UNITED STATES DISTRICT COURT "W “" '*
WESTERN DISTRICT OF TENNESSEE QSAUG|G q f
wEsTERN DIVISION H ' 5|
Ho¢hs¢ Gouw
AD{W \.jl ' ¢~MD-#S
UNITED STATES OF AMERICA,
Plaintiff,
v. Case Number 04-20492-Ma
DAVID TATE,
Defendant.
J'UDGMENT
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that the Indictment returned
against David Tate is dismissed in accordance with the Order
Granting Government’s Motion to Dismiss Indictment, docketed
August 2, 2005.

APPROVED° .

MWL_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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(DATE) CLERK

(by) DEPUTY CLERKU

 

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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Honorable Samuel Mays
US DISTRICT COURT

